                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION – DETROIT

  IN THE MATTER OF:                              CHAPTER 13
  MARSHALL FRANKLIN FISHER                       CASE NO. 14-44913-MAR
  DEBTOR                                         JUDGE: MARK A RANDON
  _____________________

                            NOTICE OF UNCLAIMED DIVIDENDS

                                 TO: CLERK OF THE COURT

 The Trustee’s check represents an unclaimed dividend in this estate and is remitted to

 the clerk of the court pursuant to U.S.C. 347(a). The name of the party entitled to

 this unclaimed dividend is as follows:

                                                     COURT
CREDITOR OR DEBTOR NAME AND ACCOUNT NUMBER          CLAIM #     CLASS           AMOUNT
MARSHALL FRANKLIN FISHER                              NA    DEBTOR             $5291.52
28237 SPRING HILL DRIVE                                     REFUND
SOUTHFIELD, MI 48076


TOTAL                                                                          $5291.52


 Dated: MARCH 8, 2017
                                          /S/Krispen S. Carroll
                                          KRISPEN S. CARROLL (P49817)
                                          Chapter 13 Trustee
                                          719 Griswold Street, Ste. 1100
                                          Detroit, MI 48226
                                          313/962-5035
                                          notice@det13ksc.com




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